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LAW OFFICES OF

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Brooklyn, New York 11238 be :
Tel.: (718) 855-9595 fae y
Attorneys for plaintiff to

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ERIC GERALD, :UNITED STATES DISTRICT COURT

 

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Plaintiff(s), cy 16- 6 “el. Ce
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CIVIL ACTION  aARCY HALL, J,

against

THE CITY OF NEW YORK, : COMPLAINT

JOHN DOE AND "JANE DOE" 1- 8 : LEVY, MJ.
inclusive, the names of the last :

defendants being fictitious, the 3 PLAINTIFF DEMANDS

true names of the defendants being : TRIAL BY JURY

unknown to the plaintiff. :

Defendant(s). 2
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TAKE NOTICE, the Plaintiff, Eric Gerald, hereby appears in
this action by his attorneys, The Law Offices of O’keke &
Associates, P.C., and demands that all papers be served upon

them, at the address below, in this matter.

Plaintiff, Eric Gerald, by his attorneys, The Law Offices
of O’keke & Associates, P.C., complaining of the defendants, The
City of New York, and “John Doe" AND "Jane Doe" 1-8,
collectively referred to as the Defendants, upon information and

belief alleges as follows:

NATURE OF THE ACTION
1. This is an action at law to redress the deprivation of
rights secured to the plaintiff under color of statute,
ordinance, regulation, custom, and or to redress the

deprivation of rights, privileges, and immunities secured

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to the plaintiff by the Fourth, Fifth and Fourteenth
Amendments to the Constitution of the United States, and by
Title 42 U.S.C. § 1983 [and § 1985], [and arising under the
law and statutes of the State of New York].

JURISDICTION

The jurisdiction of this Court is invoked under 28 U.S.C.
§1343(3), this being an action authorized by law to redress
the deprivation of rights secured under color of state and
city law, statute, ordinance, regulation, custom and usage
of a right, privilege and immunity secured to the plaintiff
by the Fourteenth Amendment to the Constitution of the
United States. Jurisdiction of this court exists pursuant
to 42 USC §1983 and under the Fourth, Fifth, and Fourteenth
Amendments to the United States Constitution.

All causes of action not relying exclusively on the
aforementioned federal causes of action as a basis of this
Court’s jurisdiction are based on the Court’s supplemental
jurisdiction pursuant to 28 U.S.C. §1367 to hear state law
causes of action. The events, parties, transactions, and
injuries that form the basis of plaintiff’s federal claims
are identical to the events, parties, transactions, and
injuries that form the basis of plaintiff's claims under
applicable State and City laws.

As the deprivation of rights complained of herein occurred
within the Eastern District of New York, venue is proper in

this district pursuant to 28 U.S.C. §§1391 (b) and (c).

SATISFACTION OF THE PROCEDURAL PREREQUISITES FOR SUIT
All conditions precedent to the filing of this action have

been complied with.
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This action, pursuant to applicable Laws, has been
commenced within three (3) years after the happening of the

event upon which the claim is based.

PARTIES
Plaintiff resides in Queens County, New York and is a
resident of the State of New York.
The actions which form the underlying basis for this case
all took place in the City of Brooklyn in the County of
Kings, within the jurisdiction of the Eastern District of
New York.
Defendants "John Doe" and "Jane Doe" i1'‘through’8 are
unknown police officers for the City of New York, acting
under color of state law. They are being sued in both
their individual and official capacity.
The Defendant, City of New York is a municipality in the
State of New York and employs the Defendants Police

Officers.

FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

On or about October 9, 2015, at about 6:00 am plaintiff and
one of his cousins were sleeping in one of the rooms in his
aunt’s apartment at 485 Fountain Avenue, Brooklyn, New York
when plaintiff heard a loud sound.

Suddenly, approximately five uniformed defendant police
officers rushed into the room and ordered plaintiff to stay
down. Plaintiff was then grabbed from the bed and roughly
taken to the living room.

The police officers searched Plaintiff’s body and his
surroundings but did not find anything. Plaintiff and his
cousins were handcuffed, placed in a police van and

transported to the NYPD 75‘ Precinct.

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Plaintiff was pedigreed and placed in a cell. Plaintiff
remained in the Precinct for several hours without access
to food, water, phone call and usable toilet facilities.
Plaintiff was brought to an Interrogation Room, where he
was interrogated for a long time, without being read his
Miranda rights, while handcuffed to a pole. The police
officers handcuffed plaintiff too tightly and refused to
loosen the handcuffs despite plaintiff's repeated
complaints about the tightness of the handcuffs and the
pain it caused him, particularly while handcuffed to a
pole.

Plaintiff was then transported to the Central Bookings
Division of the Criminal Court in Kings County and placed
in a holding pen with numerous other inmates.

Plaintiff was detained for several more hours at the
Central Bookings Division of the Criminal Court without
food and or drink or access to useable restroom facilities.
Plaintiff was falsely charged with PL 220.03, Criminal
possession of a controlled substance in the seventh degree;
and was made to appear before a judge of the criminal court
of Kings County Brooklyn, New York, two times before said
charge was dismissed on January 14, 2016. Defendant police
officers seized plaintiff’s money in the amount of
$1,600.00 (One Thousand Six Hundred Dollars) and only gave
him back $1,300.00 (One Thousand Three Hundred Dollars).

At no time did plaintiff commit any offense against the
laws of New York City and or State for which an arrest may
be lawfully made. At no time did the plaintiff engage in
any conduct which in any way justified the brutal and
unlawful actions of the police.

On the date and at the time defendant police officers

unlawfully arrested, searched and or detained/imprisoned

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plaintiff, they did not have a warrant or any lawful
justification to do so.

The decision to arrest and charge the plaintiff was
objectively unreasonable under the circumstances.

While plaintiff was being detained, the defendants
individually and/or collectively completed arrest
paperwork, in which they swore in part, that the plaintiff
had committed a crime and/or offense.

The factual claims by the defendant officers were
materially false and the defendant officers knew them to be
materially false at the time they first made them, and
every time thereafter when they repeated them.

The defendant officers forwarded these false allegations to
the Kings County District Attorney (“KCDA”) in order to
justify the arrest and to persuade the KCDA to commence the
plaintiff’s criminal prosecution.

As a direct result of these false allegations by the
defendant police officers; the plaintiff was criminally
charged under Docket Number 2015KN066181.

At no time prior to or during the above events was there
probable cause to arrest the plaintiff, nor was it
reasonable for the defendants to believe that probable
cause existed.

At no time did any defendant take any steps to intervene
in, prevent, or otherwise limit the misconduct engaged in
by the defendants against the plaintiff.

The defendant officers intentionally and deliberately gave
false statements and/or failed to file accurate or
corrective statements, or otherwise failed to report the
conduct of the defendants who engaged in the misconduct
described herein as required.

As a direct and proximate result of defendants’ actions,

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plaintiff suffered and continues to suffer injuries,
including but not limited to emotional distress,
nightmares, and unwarranted severe anger bouts some or all
of which may be permanent.

The false arrest of plaintiff, plaintiff’s unlawful search,
and wrongful imprisonment because of defendants’ knowledge
of a lack of any legitimate cause or justification, were
intentional, malicious, reckless and in bad faith.

As a direct and proximate result of defendants’ actions,
plaintiff was deprived of rights, privileges and immunities
under the Fourth and Fourteenth Amendments to the United
States Constitution and the laws of the City of New York
and the State of New York.

Defendant City of New York, as a matter of policy and
practice, has with deliberate indifference failed to
properly sanction or discipline police officers including
the defendants in this case, for violations of the
constitutional rights of citizens, thereby causing police
officers including defendants in this case, to engage in
unlawful conduct.

Defendant City of New York, as a matter of policy and
practice, has with deliberate indifference failed to
sanction or discipline police officers including the
defendants in this case, who are aware of and subsequently
conceal violations of the constitutional rights of citizens
by other police officers thereby causing and encouraging
police officers including defendants in this case, to
engage in unlawful conduct.

The defendant City of New York was responsible for ensuring
that reasonable and appropriate levels of supervision were
in place within and over the NYPD.

Defendant New York City had actual or _ constructive

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knowledge that there was inadequate supervision over and
/or within the NYPD with respect to its members’ abuse of
their authority, abuse of arrest powers and other blatant
violations of the United States Constitution and rules and
regulations of the NYPD. Despite ample notice and/or
knowledge of inadequate supervision, defendants took no
steps to ensure that reasonable and appropriate levels of
supervision were put in place to ensure that NYPD members
engaged in police conduct in a lawful and proper manner,
inclusive of use of their authority as law enforcement
officers with respect to the general public’ and
specifically the plaintiff herein.

The defendant City of New York deliberately and
intentionally chose not to take action to correct the
chronic, systemic and institutional misuse and abuse of
police authority by its NYPD employees and thereby
deliberately and intentionally adopted, condoned = and
otherwise created through deliberate inaction and negligent
supervision and NYPD policy, practice and custom of
utilizing illegal and impermissible searches, arrests and
detentions, and the manufacturing of evidence, in the
ordinary course of NYPD business in flagrant disregard of
the state and federal constitutions, as well as the Patrol
Guide, up to and beyond plaintiff’s arrest.

That all of the acts and omissions by the defendant
officers described above were carried out pursuant to
overlapping policies and practices of the municipal
defendant in their capacities as police officers and
officials pursuant to customs, policies, usages, practices,
procedures and rules of the City and the NYPD, all under
the supervision of ranking officers of the NYPD.

The existence of the unconstitutional customs and policies

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May be inferred from repeated occurrences of similar
wrongful conduct, as documented in a long history of civil
actions in state and federal courts.

In an Order dated November 25, 2009, in Colon v. City of
New York, 09 CV 0008 (EDNY), the court held that:

 

 

Informal inquiry by the court and among the judges of
this court, as well as knowledge of cases in other
federal and state courts, has revealed anecdotal
evidence of repeated, widespread falsification by
arresting police officers of the New York City Police
Department. Despite numerous inquiries by commissions
and strong reported efforts by the present
administration—through selection of candidates for the
police force stressing academic and other
qualifications, serious training to avoid
constitutional violations, and strong disciplinary
action within the department-there is some evidence of
an attitude among officers that is sufficiently
widespread to constitute a custom or policy by the
city approving illegal conduct of the kind now
charged.
That on more than half of the occasions where the Civilian
Complaint Review Board refers substantiated complaints
against officers to the NYPD for disciplinary action, the
NYPD either simply issues a verbal warning or drops the
charges altogether.
That the defendant New York City has not only tolerated,
but actively fostered a lawless atmosphere within the NYPD
and that the City of New York was deliberately indifferent
to the risk and the inadequate level of supervision would
lead to violation of individuals constitutional rights in

general, and caused the violation of plaintiff’s rights in

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particular.

The actions of all defendants, acting under color of State
law, deprived plaintiff of his rights, privileges and
immunities under the laws and Constitution of the United
States; in particular, the rights to be secure in his
person and property, to be free from the excessive use of
force and from malicious prosecution, abuse of process, and
the right to due process.

By these actions, defendants have deprived plaintiff of
rights secured by the Fourth, Fifth, and Fourteenth
Amendments to the United States Constitution, in violation
of 42 U.S.C. Section 1983.

This action has been commenced within one year and ninety
days after the happening of the event upon which the claim

is based.

AS A FIRST CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER FALSE

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ARREST AND FALSE IMPRISONMENT UNDER 42 U.S.C § 1983
By this reference, plaintiff incorporates each and every
allegation and averment set forth in paragraphs 1 through
44 of this complaint as though fully set forth herein.
The arrest, detention and imprisonment of plaintiff were
without just or probable cause and without any warrant or
legal process directing or authorizing the plaintiff’s
arrest or subsequent detention.
As a result of plaintiff's false arrest and imprisonment,
he has been caused to suffer humiliation, great mental and
physical anguish, embarrassment and scorn among those who
know him, was prevented from attending to his necessary
affairs, and has been caused to incur legal expenses, and
has been otherwise damaged in his character and reputation.

Consequently, plaintiff has been damaged and hereby demands

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compensatory and punitive damages in an amount to be proven
at trial against each of the defendants, individually and
severally.

The defendant officers were at all material times acting
within the scope of their employment, and as _ such, the
defendant City is vicariously liable for the defendant
officers acts as described above.

This action falls within one or more of the exceptions of

the New York State Civil Practice Law and Rules §1602.

AS A SECOND CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:

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UNLAWFUL SEARCH UNDER 42 U.S.C § 1983
By this reference, the plaintiff incorporates each and
every allegation and averment set forth in paragraphs 1
through 50 of this complaint as though fully set forth
herein.
Following the plaintiff's arrest, the defendant officers
searched and/or strip-searched and/or caused the plaintiff
and/or his property to be searched and/or strip-searched,
without any individualized reasonable suspicion that he was
concealing weapons or contraband.
As a result of the foregoing, the plaintiff was subjected
to an illegal and improper search and/or strip-search.
The foregoing unlawful search violated the plaintiff's
constitutional right to privacy, as guaranteed by the
Fourth, Fifth and Fourteenth Amendments to the United
States Constitution.
As a consequence of the defendant officers' individual
and/or collective actions as set forth above, the plaintiff
suffered a significant loss of liberty, humiliation, mental
anguish, depression, and his constitutional rights were

violated. Plaintiff hereby demands compensatory damages and

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punitive damages in an amount to be determined at trial,

against the defendant officers, individually and severally.

AS A THIRD CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:

FAILURE TO INTERVENE UNDER 42 U.S.C § 1983
By this reference, the plaintiff incorporates each and
every allegation and averment set forth in paragraphs 1
through 55 of this complaint as though fully set forth
herein.
Each defendant officer had an affirmative duty to intervene
on the plaintiff’s behalf to prevent the violation to his
constitutional rights, as more fully set forth above.
Each defendant officer failed to intervene on _ the
plaintiff's behalf to prevent the violation of his
constitutional rights, despite having had a realistic and
reasonable opportunity to do so.
As a consequence of the defendant officers’ individual
and/or collective actions, the plaintiff suffered loss of
liberty, humiliation, mental anguish, depression, loss of
wages from work, serious personal injuries, and his
constitutional rights were violated. Plaintiff hereby
demands compensatory damages and punitive damages, in an
amount to be determined at trial, against the defendant

officers, individually and severally.

AS A FOURTH CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:
DENIAL OF A CONSTITUTIONAL RIGHT TO A FAIR TRIAL UNDER 42 U.S.C

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§ 1983 DUE TO THE FABRICATION/FALSIFICATION OF EVIDENCE

By this reference, plaintiff incorporates each and every
allegation and averment set forth in paragraphs 1 through
59 of this complaint as though fully set forth herein.

Each defendant officer created false evidence against the

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plaintiff.

Each defendant officer forwarded false evidence and false
information to the prosecutors in the Kings County District
Attorney’s office.

Each defendant officer was directly involved in the
initiation of criminal proceedings against the plaintiff.
Each defendant officer lacked probable cause to initiate
criminal proceedings against the plaintiff.

Bach defendant officer acted with malice in initiating
criminal proceedings against the plaintiff.

Bach defendant officer was directly involved in the
continuation of criminal proceedings against the plaintiff.
Bach defendant officer lacked probable cause in continuing
criminal proceedings against the plaintiff.

Each defendant officer acted with malice in continuing
criminal proceedings against the plaintiff.

Each defendant officer misrepresented and falsified
evidence throughout all phases of the criminal proceeding.
Each defendant officer misrepresented nd falsified
evidence to the prosecutors in the Kings County District
Attorney's office.

Each defendant officer withheld exculpatory evidence from
the prosecutors in the Kings County District Attorney's
office.

Each defendant officer did not make a complete statement of
facts to the prosecutors in the Kings County District
Attorney's office.

By creating false evidence against the plaintiff;
forwarding false evidence and information to the
prosecutors; and by providing false and misleading
testimony throughout the criminal proceedings, each

defendant officer violated the plaintiff's constitutional

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right to a fair trial under the Due Process Clause of the
Fifth and Fourteenth Amendments to the United States
Constitution.

As a consequence of the defendant officers' actions, the
plaintiff suffered loss of liberty, humiliation, mental
anguish, depression, loss of wages from work, and his
constitutional rights were violated. Plaintiff hereby
demands compensatory damages and punitive damages in an
amount to be determined at trial, against each defendant

officer, individually and severally.

AS A FIFTH CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:

EXCESSIVE FORCE UNDER 42 U.S.C § 1983
By this reference, the plaintiff incorporates each and
every allegation and averment set forth in paragraphs 1
through 74 of this complaint as though fully set forth
herein.
The level of force employed by one or more of the defendant
officers was objectively unreasonable and in violation of
the plaintiff's constitutional rights.
As a result of the aforementioned conduct of the defendant
officers, the plaintiff were subjected to excessive force,
resulting in serious and severe physical injuries.
As a consequence of the defendant officers' individual
and/or collective actions as set forth above, the plaintiff
suffered serious personal injuries, and his constitutional
rights were violated. Plaintiff hereby demands compensatory
damages and punitive damages, in the amount of to be
determined at trial, against the defendant officers,

individually and severally

AS A SIXTH CAUSE OF ACTION AGAINST ALL DEFENDANTS: INTENTIONAL

AND/OR NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

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79. The Plaintiff hereby restates paragraph 1-78 of this
complaint, as though fully set forth below.

80. The Defendants Officers engaged in extreme and outrageous
conduct, intentionally, negligently and or _ recklessly
causing severe emotional distress to plaintiff.

81. Plaintiff’s emotional distress has damaged her personal and
professional life because of the severe mental pain and
anguish which were inflicted through deliberate and
Malicious detention and imprisonment by the Defendants
Officers.

82. Defendants, their officers, agents, servants, and employees
were responsible for the intentional and/or negligent
infliction of emotional distress suffered by the Plaintiff
at the hands of the Defendants Officers and security
guards, defendant City of New York, as employer of the
Officers, is responsible for their wrongdoing under the
doctrine of respondeat superior.

83. As a direct and proximate result of the misconduct and
abuse of authority detailed above, plaintiff sustained the
damages herein-before stated.

AS A SEVENTH CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER
MALICIOUS PROSECUTION UNDER 42 U.S.C. § 1983

84. By this reference, plaintiff incorporates each and every
allegation and averment set forth in paragraphs 1 through
83 of this complaint as though fully set forth herein.

85. The commencement and continued prosecution of the criminal
judicial proceeding against plaintiff, including the
arrest, the imprisonment, and the charges against plaintiff
were committed by or at the insistence of the defendant
officers without probable cause or legal justification, and
with malice.

86. That the defendant officers were directly involved in the
initiation of criminal proceedings against the plaintiff.

87. That the defendant officers lacked probable cause _ to

initiate criminal proceedings against the plaintiff.

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That the defendant officers acted with malice in initiating
criminal proceedings against the plaintiff.

That the defendant officers were directly involved in the
continuation of criminal proceedings against the plaintiff.
That the defendant officers lacked probable cause in
continuing criminal proceedings against the plaintiff.

That the defendant officers acted with malice in continuing
criminal proceedings against the plaintiff.

That the defendant officers misrepresented and falsified
evidence throughout all phases of the criminal proceeding.
That the defendant officers misrepresented and falsified
evidence to the prosecutors in the Kings County District
Attorney's office.

That the defendant officers withheld exculpatory evidence
from the prosecutors in the Kings County District
Attorney's office.

That the defendant officers did not make a_ complete
statement of facts to the prosecutors in the Kings County
District Attorney's office.

The criminal judicial proceeding initiated against
plaintiff was dismissed on January 14, 2016 and terminated
in the plaintiff's favor.

The arrest, imprisonment and prosecution of the plaintiff
were malicious and unlawful, because plaintiff had
committed no crime and there was no probable cause to
believe that plaintiff had committed any crimes.

The defendant officers actions were intentional,
unwarranted and in violation of the law. The defendant
officers had full knowledge that the charges made before
the Court against the plaintiff were false and untrue.

As a consequence of the malicious prosecution by the

defendant officers, plaintiff suffered a significant loss

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of liberty, humiliation, mental anguish, depression, and
his constitutional rights were violated. Plaintiff hereby
demands compensatory damages and punitive damages, in the
amount of to be determined at trial, against defendant
officers, individually and severally.

In addition, the defendant officers conspired among
themselves to deprive plaintiff of his constitutional
rights secured by 42 U.S.C. Section 1983, and by the Fourth
and Fourteenth Amendments to United States Constitution,
and took numerous overt steps in furtherance of such
conspiracy, as set forth above.

The defendant officers acted under pretense and color of
state law and in their individual and official capacities
and within the scope of their respective employment as NYPD
Officers. Said acts by the Defendants Officers were beyond
the scope of their jurisdiction, without authority of law,
and in abuse of their powers, and said Defendants acted
willfully, knowingly, and with the specific intent to
deprive the Plaintiff of his constitutional rights secured
by 42 U.S.C. Section 1983, and by the Fourth and Fourteenth
Amendments to the United States Constitution.

As a direct and proximate result of the misconduct and
abuse of authority detailed above, Plaintiff sustained the

damages herein before stated.

WHEREFORE, plaintiff respectfully requests judgment

against the Defendants as follows:

For compensatory damages against all defendants in an
amount to be proven at trial;
For exemplary and punitive damages against all defendants

in an amount to be proven at trial;

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3. For costs of suit herein, including plaintiff's reasonable
attorney's fees; and;

4. For such other and further relief as the court deems

proper.

Dated: November 22, 2016
Brooklyn, New York

o'k & Associate Cc.

 

John C. Iwuh, Esq. (JI-2361)
O’ keke& Associates, PC.
Attorney for Plaintiff

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Tel. (718) 855-9595

Direct Dial: (347) 442-5089

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Civil Case Number: Attorney: JOHN C. IWUH [2361]

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

ERIC GERALD,

Plaintiff(s),

against

THE CITY OF NEW YORK,
JOHN DOE and JANE DOE 1-8

Defendant(s).

 

SUMMONS & COMPLAINT
DEMAND TRIAL BY JURY

 

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EMAIL: polawuk@aol.com,

 

To:

Defendants/Attorney(s) For Defendants.

 

Service of a copy of the within is hereby admitted
Dated:

Attorney(S) For:

 

 

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